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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM DIVISION

   PETER M. BONUTTI, SIMONE K.
   BONUTTI, and BONUTTI HOLDINGS,
   LLC,

                  Plaintiffs,

          v.                                                 Cause No:

   DOEHRING, WINDERS & CO., LLP,
   Serve: registered agent Steven M. Wente,
   1601 Lafayette Ave., P.O. Box 628, Mattoon,
   Illinois, 61938

   And

   JEFFREY M. SPRACKLAN, CPA,
   Serve: 1601 Lafayette Ave., P.O. Box 628,
   Mattoon, Illinois, 61938


                  Defendants


                                            COMPLAINT

         COME NOW Plaintiffs, Peter Bonutti, Simone K. Bonutti, and Bonutti Holdings, LLC,

  and for their complaint, allege:

         1.      Dr. Peter Bonutti is an orthopedic surgeon and entrepreneur.

         2.      Dr. Peter Bonutti is married to Simone Bonutti and they have six children, Mia

  Bonutti, Marc Bonutti, Margeaux Bonutti, Mary Bonutti, Martina Bonutti, and Michael Bonutti.

         3.      Dr. Bonutti, his wife and six children are citizens of the state of Florida and reside

  in Palm Beach, Florida.

         4.      Dr. Peter Bonutti hired the accounting firm of Doehring Winders & Co., LLP for

  providing accounting, advisory and tax preparation services for all his personal and various

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  business entities, including Bonutti Holdings, LLC along with various subsidiary entities,

  partnerships holdings, investment and real estate holdings, Joint Active Systems, Bonutti

  Research, Inc., Biomax Rehabilitation Services, Inc., Evergreen Capital Holdings, Multitak,

  Axiosonic, Transet, P Tech, Marc Tech, and various land trusts. as well as to prepare the tax

  returns for he and his six children, Mia Bonutti, Marc Bonutti, Margeaux Bonutti, Mary Bonutti,

  Martina Bonutti, and Michael Bonutti.

             5.    Doehring Winders & Co., LLP is an Illinois limited liability partnership with its

  principal place of business in Mattoon, Illinois. The registered agent of Doehring Winders &

  Co., LLP is Steven M. Wente, with the principal place of business at 1601 Lafayette Ave., P.O.

  Box 628, Mattoon, Illinois, 61938. Doehring Winders & Co., LLP was formed with an effective

  date of July 1, 1995, and it is a current Illinois limited liability partnership.

             6.    Doehring Winders, & Co., LLP holds itself out to providing high quality

  professional services, including accounting, auditing, management consulting, taxation and

  bookkeeping.

             7.    Defendant Jeffrey Spracklan was at all times acting within the scope and course

  of his employment and/or agency as a principal for Doehring Winders & Co., LLP.

             8.    Through October of 2021 Doehring Winder & Co. LLP has been the sole

  accounting firm used by Dr. Bonutti for both personal and business accounting, reporting, and

  filings.

             9.    Dr. Bonutti and his family at one time resided in Illinois, however, he and his

  family moved to Florida in 2014. Defendants filed Plaintiffs’ tax returns as Illinois residents

  until the 2017 tax year despite Dr. Bonutti’s domicile being established in Florida.

             10.   Jeffrey Spracklan as an agent for Doehring Winders & Co., LLP, personally met

 with his investment advisor at Northern Trust Company, the company handling the bulk of Dr.

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 Bonutti’s portfolio investments, to discuss his holdings and investment plans as well as with his

 estate planning attorneys in Florida, to understand Dr. Bonutti’s estate plan and to implement that

 plan. Consequently, Defendants have sufficient minimal contacts to subject them to Florida’s

 personal jurisdiction.

         11.     Bonutti Holdings, LLC is a Delaware LLC and is operated by Peter Bonutti in

  Palm Beach, Florida. Consequently, for diversity jurisdiction Bonutti Holdings is a citizen of the

  states of Delaware and Florida. Bonutti Holdings, LLC under the tax laws of the United States is

  disregarded for tax purposes and all income flows through to Dr. Peter Bonutti individually.

  Bonutti Holdings, LLC has been operated by Peter Bonutti from the state of Florida since 2014.

         12.     Dr. Peter Bonutti was responsible for hiring Doehring Winders & Co., LLP and

  its employees and/or agents to prepare the tax returns for he and his wife, Simone, his entities,

  his Irrevocable Trust, and for his children.

         13.     Dr. Peter Bonutti and family, as well as his entities, moved from Illinois to

  Florida in 2014. Despite that, Defendants continued to file Plaintiffs’ tax returns as if they were

  Illinois residents. It was not until 2017 that Defendant Jeffrey Spracklan filed Peter Bonutti’s

  return as a Florida resident. As of the tax year 2014, Peter Bonutti, his wife Simone, and their

  six children were citizens and residents of the state of Florida. Peter Bonutti’s children have

  been living and going to school in Florida since 2014.

         14.     Peter Bonutti’s trusts are managed by Northern Trust, which is a large national

  company that manages trusts by acting as trustee, enacting investment strategies, and carrying

  out estate plans. Based on information provided by Jeffrey Spracklan, Northern Trust treated

  Peter Bonutti as a resident and citizen of the state of Illinois. Beginning in 2017, after being

  informed that Peter Bonutti and his family moved to Florida in 2014, the 1099s from Northern

  Trust began being issued to Peter Bonutti as a resident of Florida.
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         15.     An accountant is required to prepare tax returns with the care that a careful and

  prudent accountant would do under the same or similar circumstances. This duty includes

  obtaining consent for e-filing tax returns, filing tax returns on time, reviewing material provided

  by the client to properly prepare the tax returns, to properly document in working papers the

  source documents used to prepare the returns, to inform the client in a timely manner that the

  accountant lacked sufficient information to timely file a return, to inform the client if mistakes

  were made on the returns, e-filing only with the consent of the client, and to only undertake work

  for which they have the knowledge and expertise to handle. When an accountant is acting for a

  client pursuant to a power of attorney, the accountant should only take actions pursuant to a

  power of attorney that is current.

         16.     Peter Bonutti is not only an orthopedic surgeon but an entrepreneur and has

  multiple entities and trusts. Peter Bonutti has six children and he used Defendants to prepare his

  children’s tax returns. Sometime in 2021, Plaintiff Peter Bonutti’s sister, Magda Szabo, who is a

  CPA in New York, began assisting Plaintiffs with their taxes. In doing so, she discovered that

  Peter and Simone Bonutti’s 1040 for the year ended 2020 had not been filed as of the deadline of

  October 15, 2021. Ms. Szabo contacted Defendants who first blamed Plaintiff Peter Bonutti for

  not providing his K-1s. When she inquired further, she discovered that no work had been done

  other than filing extensions for the returns. Upon further inquiry, Ms. Szabo found that for three

  years Peter and Simone Bonutti’s personal tax returns were filed late, as well as the returns for

  Peter Bonutti’s other entities, and that other tax returns were without authorization. By way of

  example, the 1040 Form for Peter and Simone Bonutti’s tax return for 2019 was e-filed on

  November 21st without Peter or Simone Bonutti’s authorization. When Ms. Szabo inquired

  about this, Jeffrey Spracklan admitted that he did this claiming he had forwarded the e-filing

  consents to Plaintiff Dr. Peter Bonutti, but that Dr. Bonutti never returned the consents to e-file.
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  Dr. Peter Bonutti has no record of ever receiving the consents.

         17.     One of the errors Ms. Szabo discovered involved compliance with a federal law

  known by the acronym FBAR. Congress passed an Act known as FBAR, which requests

  reporting of overseas financial accounts. Pursuant to FBAR, a United States citizen must file

  areturn if that person has a financial interest or assumes authority over any financial account

  outside the United States if the aggregate maximum exceeds $10,000 at any time during the

  calendar year. Pursuant to FBAR, entities that are United States persons that are disregarded for

  tax purposes are required to file a FBAR. The federal tax treatment of the entity does not affect

  the entity’s requirement to file a FBAR.

         18.     Financial accounts subject to FBAR includes bank accounts, such as savings

  accounts, checking accounts and time deposits; security accounts, such as brokerage accounts

  and security derivatives or other financial instruments; commodities, futures or options accounts;

  insurance policies with a cash value such as whole life insurance policies; mutual funds or

  similar pooled funding accounts.

         19.     Failure to file the Form 114 to report a foreign bank account when required to do

  so may result in civil penalties, criminal penalties, or both. When a United States person learns

  that a foreign bank account should have been reported on Form 114 for a previous year, the filer

  is required to electronically file the delinquent return using the PSA e-filing system website.

  Pursuant to FBAR, there are violations and penalties for negligent violations, non-willful

  violations, a pattern of negligent activity, as well as penalties for willful failure to file Form 114

  or obtaining records of accounts.

         20.     Upon Ms. Szabo’s review of the tax returns and supporting documents, she

  determined that the foreign bank accounts were not properly reported. Pursuant to FBAR, an

  annual report must be filed every April 15th.
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         21.     Dr. Peter Bonutti has one account in Slovenia requiring annual reporting on Form

  114 of a foreign bank account report. Failure to properly report triggers a $10,000 penalty. For

  all tax years, Defendants reported Peter Bonutti as having multiple accounts totaling

  approximately $1,000,000, when the accounts they reported were nothing more than interest

  contracts on deposits which are not subject to FBAR. As a result, the proper bank account in

  Slovenia was never reported, and the balance reported was approximately ten times the

  appropriate amount. Rather than reporting the correct bank account number each year,

  Defendants reported the contract numbers on the interest-bearing contracts, which are not subject

  to FBAR reports. Because the Slovenia bank account was never properly reported, Dr. Bonutti is

  exposed to potentially $60,000 in penalties. There is a reasonable cause exception to clear the

  penalties, but there is a cost of using a one-time penalty abatement request.

         22.     FATCA Form 8938 must be filed annually with Peter and Simone Bonutti’s

  individual 1040 return and it must list out all foreign financial assets. The FATCA Form

  incorporates the FBAR information and if the FBAR information is incorrect, all the FATCA

  returns are incorrect. In addition, other financial assets, such as foreign partnership interests

  were not incorporated in any of the information on the FATCA Form 8938, as well as

  instruments such as loans to non-resident aliens were not disclosed for all years leaving Peter

  Bonutti exposed for all years along with interest and penalties. While it is possible to correct the

  form with a reasonable filing exception, here are additional costs that Dr. Bonutti will incur in

  addition to using the one-time penalty abatement request. In addition, if the individual tax return

  is late, penalties can be assessed for the Form 8938 being late.

         23.     In 2018, Dr. Peter Bonutti received a notice from the IRS for identity verification

  and provided it to Defendant Jeffrey Spracklan. Despite turning over this notice to Defendants in

  a timely manner, Defendants did not respond to the IRS. This resulted in the IRS freezing
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  approximately $250,000 of a loss carry forward. Dr. Peter Bonutti provided Defendants the

  notice he received from the IRS and Defendant Jeffrey Spracklan as agent for Doehring Winders

  told him the notice was being addressed. Ms. Szabo later learned that the notice had not been

  properly addressed by Defendants.

         24.     The IRS notice for identity verification had simply requested a response from the

  taxpayer (Dr. Peter Bonutti) that they received the request. All that had to be done to comply

  with the request was to call the number on the notice and provide the IRS the verification code

  on the notice. Plaintiff’s sister, Magda Szabo asked the accounting firm for these notices, but

  they were never provided to Plaintiffs or their agents. Based on some of the records turned over,

  however, she found multiple errors in the tax returns.

         25.     Peter and Simone Bonutti’s 2018 1040 Tax Return had an extension due date of

  October 15, 2019. During this time, Peter Bonutti received a request for identity verification

  from the IRS. This was forwarded to Defendants for response. All this involved was calling the

  IRS and providing the identity verification code on the notice and nothing more. Defendants did

  not respond to the notice, and instead informed Dr. Bonutti that they had identity theft, and their

  return could therefore not be filed. This was incorrect because all the IRS wanted to do was

  verify the identity. Defendants used this as a reason to delay the filing of the return past the due

  date of May, 2020, at which time it was paper filed. As a result of the lack of response to the

  notice, a $250,000 carry forward was frozen by the IRS and not applied. A large number of

  hours were spent clearing this up with the IRS since the verification was coming years after the

  request was made. In addition, because the return involved the filing of FACTA Form 8938, the

  IRS can assess a penalty of $10,000 for failure to file a request plus interest.

         26.     Peter and Simone Bonutti’s 2019 1040 Tax Return was not filed on a timely basis.

  The return was extended, making the due date October 15, 2020. In late October of 2021, Peter
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  Bonutti contacted Jeffrey Spracklan asking for a copy of his 2020 return and he was told it had

  not been filed because Mr. Spracklan had been unable to get a copy of the K-1s from a broker,

  implying that was all that was missing. In fact, no work had been done on the 2019 1040. The

  Defendant Jeffrey Spracklan did not disclose that the 2019 1040 had not been filed, and instead

  sent a PDF of an incomplete 2020 return. He also sent a electronic copy of the 2020 1040, but

  did not mention that the prior year 1040 had not been filed.

         27.     During November of 2021, without any authorization, knowledge or consent,

  Defendants e-filed Peter and Simone Bonutti’s 2019 1040, over a year past the extended due

  date. The 2019 1040 was not a return that Peter or Simone Bonutti ever reviewed or consented

  to filing. In fact, they were not aware that it had not been filed and found out only after their

  current CPA obtained e-filing dates from the prior firm. At a minimum, late filing triggers a

  potential $10,000 penalty for failure to file the Form 8938. In addition, as of 2019 two years of

  filing late returns damaged the Plaintiffs’ tax profile precluding the ability to claim abatement for

  penalties for tax filings based on compliant tax-payer status.

         28.     Regarding the 2020 1040, Dr. Bonutti was told by Defendants only after the

  extended time to file his return had passed that Defendants lacked the capability of doing his

  returns. Plaintiff Peter Bonutti was told by Defendant Jeffrey Spracklan this after many returns

  had been filed late and neither his return, nor his children’s returns had been timely filed. An

  accountant to act within the standard of care must have sufficient knowledge to prepare returns

  prior to working on them. Plaintiffs were not told of Defendants’ lack of ability and knowledge

  until after significant damage had been sustained.

         29.     The 2017 Tax Act significantly changed permissible accounting methods for

  businesses with inventory. Previously any business with over $10,000,000 in gross receipts had

  to be on the accrual basis. The 2017 Tax Act increased the threshold to $25,000,000. Peter
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  Bonutti was eligible for change in the method on accounts from the accrual basis to the cash

  basis, which would have created a tax loss in that year that could have been carried back and

  generated a refund of at least $2,000,000. The change of method was overlooked by Defendants.

  When this was brought to their attention, the Defendants grossly exaggerated the gross receipts

  trying to claim that Peter was not eligible as he had gross receipts of over $25,000,000, which

  was not true. Plaintiffs’ successor accountant was successful in implementing the change for

  2019, however, greater savings would have been achieved if it had been implemented in 2018.

         30.     Defendants filed a series of grantor trust returns. None of these returns needed to

  be filed because Irrevocable Grantor Trusts are disregarded for tax purposes. As a result, none of

  the returns needed to be filed because the funds were pass through income to Plaintiffs Peter and

  Simone Bonutti’s and should have been reported on a 1040 return, and all the fees incurred to

  prepare the returns for the grantor trusts was unnecessary. There were a total of six grantor trusts

  for which returns were filed from 2003 through 2020, which all were unnecessary and Plaintiffs

  Peter and Simone Bonutti were damaged in an amount equal to the payment of the fees to

  prepare the returns.

         31.     In addition, Illinois assesses a replacement tax on entities and not individuals.

  The net effect of filing returns unnecessarily is that a payment for Illinois replacement tax was

  unnecessarily incurred. Illinois does not require a state return for a grantor trust – only non-

  grantor trusts. All trusts at issue were for Plaintiff Peter Bonutti’s grantor trusts and in 2020, the

  amount paid was $40,000, which was required to be paid annually since 2003.

         32.     Bonutti Holdings, LLC’s tax return was filed late after the September 15, 2020,

  which is after the due date and penalties were assessed for each month the return was late.

  Defendants obtained a penalty abatement apparently using an expired Power of Attorney, but it



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   was too late at a cost to Plaintiffs Peter and Simone Bonutti of a one-time payment penalty

   abatement. In addition, as alleged above Bonutti Holdings is a pass through entity for tax

   purposes and a tax return did not need to be filed for it, this penalty was assessed on a return that

   never needed to be filed. In addition, because Defendants filed the request for penalty abatement

   without authorization, they never argued to the IRS that the return did not need to be filed and

   there should be no penalty abatement.

             33.   The six Bonutti children’s tax returns for 2020 were due on April 15, 2021.

   Defendants failed to file an extension for these returns and therefore, the returns were filed late.

   The IRS assessed a penalty on the children’s returns of $1,200 per child. A penalty abatement

   was obtained, which caused Plaintiffs to incur additional accounting fees.

             34.   Plaintiffs Peter and Simone Bonutti have a vineyard overseas, which can be

   depreciated. Defendants failed to take depreciation on Plaintiffs Peter and Simone Bonutti’s

   1040s. This should have been reported as an asset on Peter and Simone Bonutti’s individual

   1040, Schedule E, and as a result Plaintiffs Peter and Simone Bonutti failed to take a lawful

   deduction and unnecessarily paid taxes individually for each year Defendant prepared their 1040

   return.

             35.   Bonutti Holdings, LLC is held by Peter Bonutti’s Irrevocable Trust and Grantor

   Trust, which are technically disregarded for tax purposes. Bonutti Holdings, LLC had to pay the

   State of Illinois a replacement tax annual based on the filing, which never needed to be made.

   Bonutti Holdings, LLC also had to pay for tax returns that never needed to be filed. For Peter

   Bonutti’s Irrevocable Trust, Peter Bonutti was damaged because he had to pay tax preparation

   fees for filings for tax returns did not need to be filed.




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           36.     Defendants undertook the filing of Peter and Simone Bonutti’s state and federal

   tax returns for 2017 through 2020. The tax returns were filed late for the tax returns for the years

   ended 2018, 2019 and 2020.

           37.     Defendants undertook the filing of Mia Bonutti’s state and federal tax returns for

   the year ended 2020. The tax returns were filed late for that year.

           38.     Defendants undertook the filing of Marc Bonutti’s state and federal tax returns for

   the year ended 2020. The tax return was filed late for that year.

           39.     Defendants undertook the filing of Margeaux Bonutti’s state and federal tax

   returns for the year ended 2020. The tax return was filed late for that year.

           40.     Defendants undertook the filing of Mary Bonutti’s state and federal tax returns for

   the year ended 2020. The tax return was filed late for that year.

           41.     Defendants undertook the filing of Martina Bonutti’s state and federal tax returns

   for the year ended 2020. The tax return was filed late for that year.

           42.     Defendants undertook the filing of Michael Bonutti’s state and federal tax returns

   for the year ended 2020. The tax return was filed late for that year.

                                     COUNT I (Accounting Malpractice)

           COME NOW Plaintiffs and for Count I of Plaintiffs’ Complaint, allege:

           43.     Plaintiffs incorporate by reference the allegations in paragraphs 1 through 41 as if

   fully set out herein.

           44.     Defendants undertook to provide accounting and tax preparation services to

   Plaintiffs.

           45.     In doing so, Defendants have a duty to act as careful and prudent accountants and

   tax preparers in the same or similar circumstances.



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        46.   As set out above, Defendants were negligent in a number of respects, including:

        a)    Filing the tax returns for Dr. Peter Bonutti and Simone Bonutti’s children late for

              the tax year ended 2020 resulting in a payment penalty. This penalty was abated,

              however, Plaintiffs incurred fees from their accountant to obtain the abatement.

        b)    Reporting Bonutti Holdings, LLC as a partnership since 2003, which caused Dr.

              Peter Bonutti to pay an Illinois replacement tax annually, as well as the cost to

              prepare the return which is unnecessary since this was a pass through entity and

              tax returns did not need to be filed for Bonutti Holdings, LLC.

        c)    Allocating Bonutti Holdings, LLC’s source of income to Illinois and failing to

              notify Northern Trust that the correct source is Florida, which is non-taxable,

        d)    In preparing Peter and Simone Bonutti’s 2018 1040 tax returns, Defendants told

              Plaintiffs that they did not file the return because they had a notice of identity

              theft, when the notice was actual looking for identity verification, which resulted

              in a $250,000 loss carry forward being frozen.

        e)    Filing Form 114 to comply with FBAR, which overstated annually income by ten

              times. Foreign financial accounts have to be correctly reported and would need to

              be amended for a maximum of six years based on the statute of limitations.

        f)    Preparing FATCA Form 8938 which did not report all foreign assets that should

              have been incorporated in the filing. Defendants also overstated the amount and

              used incorrect account numbers on the return because it incorporated the incorrect

              foreign bank accounts reported on Form 114 and was filed late. All of the

              FATCA Form 8938 were filed with improper and/or missing information all years

              since 2011. FACTA Form 8938 requires certain foreign assets to be disclosed



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                  and various foreign partnership interests were not incorporated on the form nor

                  were other interest such as loans to non-resident aliens were not disclosed for all

                  years leaving Plaintiffs exposed to interest and penalties for all years. This is a

                  minimum $10,000 penalty for each late or incorrect filing and exposes Peter and

                  Simone Bonutti to a $20,000 a year penalty for all open years;

          g)      Filing Peter and Simone Bonutti’s 2019 1040 late, resulting in a penalty;

          h)      Filing Peter and Simone Bonutti’s 2020 1040 late without telling them, and filing

                  them without authorization;

          i)      Filing the 1040 returns for 2020 for the Bonutti children late;

          j)      Filing tax returns for all of the grantor trusts and partnership trusts, which were

                  pass through entities and returns do not need to be filed, incurring additional filing

                  fees and accounting fees for the preparation and filing of the return;

          WHEREFORE, Plaintiffs pray for judgment against Defendants in an amount equal to:

          A.      The accounting fees and filing fees that were incurred for filing unnecessary

                  returns; penalties and interest assessed by the IRS against Plaintiffs; various

                  problems created by Defendants; and accounting fees to obtain abatements and

                  sort out various problems;

          B.      For Plaintiffs’ costs herein incurred; and

          C.      For such other further relief as may in the premises be just and proper.

                                   COUNT II (Breach of Contract)

          COMES NOW Plaintiffs and for Count II of their Complaint incorporates the allegations

   contained in paragraphs 1 through 41 as if fully set out herein.




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           47.       Plaintiffs entered into a contract with Defendants to provide accounting and tax

   preparation services.

           48.       Implied within the contract is that Defendants complete it within the standard of

   care that a careful and prudent accountant under the same or similar circumstances.

           49.       Defendants breached the contract by:

      a)         Filing the tax returns for Dr. Peter Bonutti and Simone Bonutti’s children late for the

                 tax year ended 2020 resulting in a payment penalty. This penalty was abated,

                 however, Plaintiffs incurred fees from their accountant to obtain the abatement.

      b)         Reporting Bonutti Holdings, LLC as a partnership since 2003, which caused Dr. Peter

                 Bonutti to pay an Illinois replacement tax annually, as well as the cost to prepare the

                 return which is unnecessary since this was a pass through entity and tax returns did

                 not need to be filed for Bonutti Holdings, LLC.

      c)         Allocating Bonutti Holdings, LLC’s source of income to Illinois and failing to notify

                 Northern Trust that the correct source is Florida, which is non-taxable,

      d)         In preparing Peter and Simone Bonutti’s 2018 1040 tax returns, Defendants told

                 Plaintiffs that they did not file the return because they had a notice of identity theft,

                 when the notice was actual looking for identity verification, which resulted in a

                 $250,000 loss carry forward being frozen.

      e)         Filing Form 114 to comply with FBAR, which overstated annually income by ten

                 times. Foreign financial accounts have to be correctly reported and would need to be

                 amended for a maximum of six years based on the statute of limitations.

      f)         Preparing FATCA Form 8938 which did not report all foreign assets that should have

                 been incorporated in the filing. Defendants also overstated the amount and used



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                incorrect account numbers on the return because it incorporated the incorrect foreign

                bank accounts reported on Form 114 and was filed late. All of the FATCA Form

                8938 were filed with improper and/or missing information all years since 2011.

                FACTA Form 8938 requires certain foreign assets to be disclosed and various foreign

                partnership interests were not incorporated on the form nor were other interest such as

                loans to non-resident aliens were not disclosed for all years leaving Plaintiffs exposed

                to interest and penalties for all years. This is a minimum $10,000 penalty for each

                late or incorrect filing and exposes Peter and Simone Bonutti to a $20,000 a year

                penalty for all open years;

      g)        Filing Peter and Simone Bonutti’s 2019 1040 late, resulting in a penalty;

      h)        Filing Peter and Simone Bonutti’s 2020 1040 late without telling them, and filing

                them without authorization;

      i)        Filing tax returns for all of the grantor trusts and partnership trusts, which were pass

                through entities and returns do not need to be filed, incurring additional filing fees

                and accounting fees for the preparation and filing of the return;

           WHEREFORE, Plaintiffs pray for judgment against Defendants in an amount equal to:

           A.      The damages alleged in this Complaint in excess of $1,000,000;

           D.      For Plaintiffs’ costs herein incurred; and

           E.      For such other further relief as may in the premises be just and proper.

                                COUNT III (Negligent Misrepresentation)

           COME NOW Plaintiffs and for Count III of their Complaint alleging negligent

   misrepresentation, allege:




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             50.    Plaintiffs reallege the allegations in paragraphs 1 through 41 as if fully set out

   herein.

             51.    Defendants made various representations to Plaintiffs regarding the preparation of

   their tax returns. Their representations included that the returns had been properly filed, they

   were filed within the time frame requested by the IRS, they would only be filed with

   authorization, that they had the competence and experience to work on this type of taxpayer, and

   that all appropriate deductions were taken and income reported.

             52.    Defendants negligently represented that they had the experience and ability to

   prepare the tax returns for Plaintiffs and their various entities and trust, that they filed the returns

   on time and that they took all appropriate deductions and reported income properly, that they

   would only file returns with proper authorization, that on Plaintiffs’ 2018 tax return the IRS

   reported identity theft.

             53.    As a result of Defendants’ negligence, Plaintiffs paid taxes that were unnecessary,

   paid penalties and interest for late filed returns, paid fees to have tax returns prepared for entities

   for which returns do not have to be prepared, paid unnecessary replacement taxes, had a

   $250,000 loss carry forward frozen and other damages alleged herein totaling in excess of

   $1,000,000.

             54.    As a result, Plaintiffs were damaged.

             WHEREFORE, Plaintiffs pray for judgment against Defendants in an amount equal to:

             A.     Damages in excess of $1,000,000;

             D.     For Plaintiffs’ costs herein incurred; and

             E.     For such other further relief as may in the premises be just and proper.



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                                                       TEIN MALONE, PLLC
                                               By: /s/Allan Kaiser
                                                      Allan B. Kaiser, # 594628
                                                      7741 SW 95th Terrace, Unit 3
                                                      Miami, FL 33156
                                                      (305) 442-1101
                                                      akaiser@teinmalone.com

                                                       and

                                                       Jeffrey J. Lowe, Mo Bar #35114
                                                       CAREY DANIS & LOWE
                                                       8235 Forsyth, Ste. 1100
                                                       St. Louis, MO 63105
                                                       (314) 725-7700
                                                       jlowe@careydanis.com

                                                       Attorneys for Plaintiffs

                                         Certificate of Filing

          The undersigned hereby certifies that the foregoing Complaint has been filed by using the
   Court’s electronic case filing system on this 17th day November, 2022.


                                                             /s/Allan B. Kaiser




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